 

DOOR GIOM Pocument 11 Filed Le tsees PagageY da
 

 

ase Oe NHB LAIE™ posaieatd ++ Files /471 488086 Passage F da
. : YYYs75 P

MUNLEY, MUNLEY & CARTWRIGHT, P.C.
69 Public Square, Ste. 1200

Wilkes Barre, PA 18707

570-824-5599

CAROL NOVAJOSKY, AND ; IN THE COURT OF COMMON PLEAS
MICHAEL N. NOVAJOSKY, ; OF LUZERNE COUNTY
her husband, : -
Plaintiffs JURY TRIAL DEMANDED
vs. ; CIVIL ACTION - LAW

SCHNEIDER NATIONAL, INC.,
SCHNEIDER NATIONAL CARRIERS,

INC., and PAUL ROZON, :
Defendants : No. 6265-05

NOTICE

You have been sued in Court. If you wish to defend against the claims set forth
in the following pages, you must take action within 20 days after this complaint and
notice are served, by entering a written appearance personally or by attorney and filing
in writing with the Court your defenses or objections to the claims set forth against you.
You are warned that if you fail to do so the case may proceed without you and a
judgment may be entered against you by the Court without further notice for any money
claimed in the complaint or for any other claim or relief requested by the plaintiff. You
may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
LAWYER. .

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.
 

 

 

ee
-CV-QO0Q05 /

Case SOR OL ODSB7-EMIe Docuihent et FIRE ZAS2btS PPayE Bot24

‘ ,

IE YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENGIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS ATA REDUCED FEE OR NO FEE.

Legal Services of Northeastern Pa.
410 Bicentennial Bldg. .
15 Public Square _
Wilkes-Barre, PA 18701
(570) 825-5367

OR

21 North Church Street
Hazleton, PA 18201
(570) 455-9511
 

Ee

Case 3. 05-cv-O2587" Mie ponent 4 FCA SAS 268s Paekgé Siok 4

MUNLEY, MUNLEY & CARTWRIGHT, P.C.
69 Public Square, Ste. 1200

Wilkes Barre, PA 18701

570-824-5599

CAROL NOVAJOSKY, AND ; IN THE COURT OF COMMON PLEAS
MICHAEL N. NOVAJOSKY, OF LUZERNE COUNTY
her husband, :

Plaintiffs ; JURY TRIAL DEMANDED
VS. ; CIVIL ACTION - LAW

SCHNEIDER NATIONAL, INC.,

SCHNEIDER NATIONAL CARRIERS,

INC., and PAUL ROZON,
Defendants No. 6265-05

COMPLAINT

 

NOW come Plaintiff, Carol Novajosky and Michael T. Novajosky, her husband,

by and through her undersigned counsel, Munley, Munley & Cartwright, P.C. and aver
as follows:

1. Plaintiff Carol Novajosky is a competent adult individual with an address at
RD #3, Box 263-5, Dallas, Pennsylvania 18612.

2. Plaintiff Michael T. Novajosky is the husband of Plaintiff Carol Novajosky, and
is a competent adult individual with an address at RD #3, Box 263-5, Dallas,
Pennsylvania 18612.

3. Defendant Paul Rozon is, on information and belief, a competent adult
 

Case 3:05-cv-02587-EMK” Document 1-1 File G55 PEYye 6 SP 24

r

individual with an address at 140 Rue Henriette, Chateau Guay, Quebec J6J6B2.

4. Defendant Schneider National Carriers, Inc. is a corporation doing systematic
and continuous business in the Commonwealth of Pennsylvania, with an address at
20" Street and Center, Ottawa, Illinois 61350. .

5. Defendant Schneider National, Inc. is a corporation doing systematic and
continuous business in the Commonwealth of Pennsylvania, with an address at 20"
Street and Center, Ottawa, Illinois 61350.

6. Defendants, Schneider National, Inc. and Schneider National Carriers, Inc.,
as collectively referred to as “Schneider” herein.

7. On or about September 17, 2003, at approximately 7:54 p.m., Plaintiff Michael
T. Novajosky was operating a 2002 GMC Envoy with a Pennsylvania Registration of
EPB3989 northbound in the right lane of Interstate 89 near the city of Berlin, Vermont.

8. At the above-stated place and time, Defendant Paul Rozon was operating a
tractor-trailer rig with a 2000 International tractor with a Illnois Registration P350552,
owned by Schreider, also northbound, but in the left (passing) lane of Interstate 89.

9. Suddenly, and without warning, Defendant Rozon came directly over into the

right lane and hit the GMC Envoy in which the Plaintiffs were riding, in the right-hand

lane of northbound Interstate 89.
 

Rp Ds

CaSP3S: 20-6558 7EMIO™ DERTHERTT > FIbeZAS G65 PAGS 94 UF 24

10. As a result of the above-stated impact, the Plaintiffs’ vehicle spun around
and came again into contact with the Defendants’ tractor-trailer, smashing the back
window of the Envoy, which then spun around a second time, again, coming into
contact with the tractor-trailer, after which the Plaintiffs’ Envoy was pushed into a culvert
off to the right side of the northbound lanes of Interstate 89.

11. As a result of the above-stated collision, Plaintiff Carol Novajosky
immediately suffered chest wall pain and discomfort in the inner aspect of both upper
arms and some mid back pain; she has subsequently been diagnosed with
costochondritis , chest contusion, contusions on the stomach, knees and arms, and
shock to her nerves and nervous system, some or all of which may be permanent in
nature.

12. As a result of the above-stated collision and injuries sustained, Plaintiff Carol

Novajosky has been forced to endure pain and suffering, a loss of the pleasures of life,

embarrassment and humiliation, inability to go about her normal routines and
occupations, and mental anguish and anxiety, some or all of which may be permanent

in nature.

13. As a result of the above-stated collision and injuries sustained, Plaintiff Carol

Novajosky has been forced to expend various and substantial sums of money in
 

Case SBE Gy CORSET ENK 9 Bodunrant at 1- $1 Gd 9S ABE Page {DbfL24

r

endeavoring to cure herself of such injuries.

COUNT ONE
Plaintiff Carol Novajosky v. Defendant Paul Rozon
| Negligence . _
14. Paragraphs 1-13 above are incorporated herein by reference as if fully set
forth here at length.
15. Defendant Paul Rozon owed a duty of care to Plaintiff Carol Novajosky.

46. Defendant Paul Rozon breached the above-stated duty of care in the

following:
a. Failure to keep a proper lookout,
b. Failure to properly control his vehicle;
c. Failure to take proper and evasive action;
d. Failure to exercise a degree of care which an ordinary and prudent

person would have done under the circumstances;

e. Failure to remain attentive and to maintain a sharp lookout of the
roadway and the traffic thereon,

f. Operating his vehicle at a speed greater than that which was

reasonable and prudent under the circumstances in violation of

 

 
 

as

Case BRE LOBES Ko Bodhran at 15449, B/SBOS Page 4Do124

Vermont law;

g. Failure to obey the rules of the road, the statutes of the State of
Vermont and the ordinances of the Town of Berlin in and about
operating his vehicle on the highways and roadways of the State of
Vermont ;

h. Failure to operate, maintain, inspect and repair his vehicle in
accord with the applicable Federal Motor Carrier Safety
Regulations and Vermont statutes and regulations;

i. Operating his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Safety Regulations;

j. Operating his vehicle in violation of the rules and regulations of the
Federal Motor Carrier Act;

kK. Faiting to slow or bring his vehicie to a stop to avoid the impact with
the Plaintiffs’ vehicle;

I. Failing to document his travel log as required by law;

m. Failing to observe proper rest and driving intervals as required by
law;

n. Failing to maintain a proper driver's log and observe driver rest

 
 

 

 

ok - Case 3:05+¢ -CV- v-02567-ENK™" boc net 41-1 faledoh7ss688 Prage?1al diP24

requirements.

17. As aresult of the above-stated acts and omissions constituting negligence,
recklessness and/or wanton and/or willful misconduct, Plaintiff Carol Novajosky has
suffered such harm as has been previously stated herein. _

WHEREFORE, Plaintiff Carol Novajosky demands judgment in her favor and
against Defendant Paul Rozon in an amount in excess of $50,000.00 plus delay
damages, ccsts and such other relief as this Court deems appropriate.

COUNT TWO

 

Plaintiff Carol Novajosky v. Defendants Schneider
Negligence
18. Paragraphs 1-17 above are incorporated herein by reference as if fully set
forth here at length.
49. Defendants Schneider owed a duty of care to Plaintiff Carol Novajosky.

20. Defendants Schneider breached the above-stated duty of care in the

following:

a. Through the acts and/or omissions of the Defendant Paul Rozon,
who at all times relevant hereto was acting as the agent, servant,

workman and/or employee of Defendants Schneider and was in the
 

 

Case 805-0 -CV- POBs SOE ie DRQGHENEILt 1 Fed 4 ZA abs Pagg.dq at bf 34

,

course and scope of such agency, service, work and/or employ at
the time of the collision in this case;

b. Negligently entrusting Paul Rozon with its vehicle when it knew or
should have known that Paul Rozon lacked sufficient skill, .
judgment and prudence in the operation of a tractor trailer;

C. Failing to adequately instruct Paul Rozon in the safe operation of
the tractor trailer prior to entrusting him with it;

d. Failing to prevent Paul Rozon from operating the tractor trailer until
he had sufficient ability to operate the motor vehicle safely;

e. Failing to adequately ascertain that Paul Rozon lacked the ability
necessary to safely operate the tractor trailer under the
circumstances;

f. Failure to provide Paul Rozon with the equipment necessary to
safely operate a tractor trailer;

g. Failure to operate, maintain, inspect and repair its vehicle in accord
with the applicable Federal Motor Carrier Safety Regulations rules
and regulations, and Vermont statutes and regulations;

h. Operating its vehicle in violation of the rules and regulations of the
 

ease t “CV-UU0UD /- - j
Case SOB On ODEBT EMK” Document TE ifele fo} 8/2088 Fag ge lle ta

Federal Motor Carrier Safety Regulations;

i. Operating its vehicle in violation of the rules and regulations of the
Federal Motor Carrier Act;

j. Failure to properly conduct a background check of the driving _
record of Pau! Rozon;

k. Failure to properly supervise Defendant Paul Rozon in the
operation of its tractor-trailer;

I. Failure to operate, inspect, maintain and repair its vehicle in accord
with the applicable Federal Motor Carrier Safety Regulations rules
and regulations and Vermont statutes and regulations.

21. As aresult of the above-stated acts and omissions constituting negligence,
recklessness and/or wanton and/or willful misconduct, Plaintiff Carol Novajosky has
suffered such harm as has been previously stated herein.

WHEREFORE, Plaintiff Carol Novajosky demands judgment in her favor and
against Defendants Schneider in an amount in excess of $50,000.00 plus delay

damages, costs and such other relief as this Court deems appropriate.

 
 

 

ASE 1.06-CV-0005/;] “1-.Ei |
Case 3:05-Gy USSO EMR Document Filet F2/B/208S | Paige tf7cit- a

COUNT THREE
Plaintiff Michael T. Novajosky v. Defendant Paul Rozon
Loss of Consortium

22. Paragraphs 4-24 above are incorporated herein by reference as if fully set
forth here at length.

23. Due to the above stated injuries and losses sustained by Plaintiff Carol
Novajosky, her husband, Michael T. Novajosky has sustained a loss of the society,
services, conifort and support of his wife, Carol Novajosky, which will/may be
permanent in nature.

WHEREFORE, Plaintiff, Michael T. Novajosky, demands judgment in his favor
and against Defendant, Paul Rozon, in an amount in excess of $50,000.00 plus delay

damages, costs and such other relief as this Court deems appropriate.

COUNT FOUR

 

Plaintiff Michael T. Novajosky v. Defendants Schneider
Loss of Consortium
24. Paragraphs 1-23 above are incorporated herein by reference as if fully set

forth here at length.

 
 

 

 

nl - "OO057 1c .
Case 3:05-0.02587-EMK” ‘Document 1:1 Feel arsabts PPagdFebiaa

r

25. Due to the above stated injuries and losses sustained by Plaintiff Carol
Novajosky, her husband, Michael T. Novajosky has sustained a loss of the society,
services, comfort and support of his wife, Carol Novajosky, which will/may be
permanent in nature. _

WHEREFORE, Plaintiff, Michael T. Novajosky, demands judgment in his favor
and against Defendants Schneider in an amount in excess of $50,000.00 plus delay
damages, costs and such other relief as this Court deems appropriate.

COUNT FIVE

 

Carol Novajosky v. Paul Rozon
Punitive Damages
26. Paragraphs 1-25 above are incorporated herein by reference as if fully set

forth here at length.

27. The aforementioned conduct of Defendant Paul Rozon was outrageous
and/or done willfully, wantonly and/or with reckless indifference to the rights of the
public including Plaintiff Carol Novajosky. Defendant Paul Rozon knew or should have
known that operating a tractor trailer at an excessive rate of speed and without paying
attention to the roadway before him would result in serious injury to others driving on

the roadway. Nevertheless, Defendant failed to keep a proper lookout; failed to
    

   

SS
¢

Case 3:05-cv-02587-EMK Gane nyt Lp flpto} 74408 Pragel tonsa

properly control his vehicle; failed to take proper and evasive action; failed to exercise a
degree of care which an ordinary and prudent person would have done under the
circumstances; failed to remain attentive and to maintain a sharp lookout of the
roadway and the traffic thereon, operated his vehicle at a speed greater than that which
was reasonable and prudent under the circumstances in violation of Vermont law; failed
to obey the rules of the road, the statutes of the State of Vermont and the ordinances of
the Town of Berlin in and about operating his vehicle on the highways and roadways of
the State of Vermont; failed to operate, maintain, inspect and repair his vehicle in
accord with the applicable Federal Motor Carrier Safety Regulations and Vermont
statutes and regulations; operated his vehicle in violation of the rules and regulations of

the Federal Motor Carrier Safety Regulations; operated his vehicte in violation of the

rules and regulations of the Federal Motor Carrier Act; failed to slow or bring his vehicle
to a stop to avoid the impact with the Plaintiffs’ vehicles; failed to document his travel
log as required by law, failed to observe proper rest and driving intervals as required by
law and failed to maintain a proper driver's log and observe driver rest requirements.
All of these acts did constitute a reckless indifference to the risk of injury to Plaintiff

Carol Novajosky. As a result, Plaintiff is seeking an award of punitive damages against

Defendant Pau! Rozon.
 

ce oe

Cas 8 Ot OOOO EO DEQHHER Tt FLEA SAS B65 PRye2Olt24 |

WHEREFORE, Plaintiff Carol Novajosky demands judgment against Defendant
Paul! Rozon in an amount in excess of $50,000.00 plus interest and costs.
COUNT SIX
Plaintiff Carol Novajosky v. Defendants Schneider
Punitive Damages

28. Paragraphs 1-27 above are incorporated herein by reference as if fully set
forth here at length.

29. The aforementioned conduct of Defendants Schneider by and through its
agents, servants, workmen, contractors and/or employees was outrageous and/or done
willfully, wantonly and/or with reckless indifference to the rights of the public including
Plaintiff Carol Novajosky. Schneider knew or should have known that permitting Paul
Rozon to operate its tractor trailer when he was unable to do so properly would result in

serious injury to others driving on the roadway. Nevertheless, Defendants entrusted

Paul Rozon with the vehicle of which Schneider was the carrier when it knew or should
have known that Paul Rozon lacked sufficient skill, judgment and prudence in the
operation of a tractor trailer; failed to adequately instruct Paul Rozon in the safe
operation of the tractor trailer prior to entrusting him with the tractor trailer of which

Schneider was the carrier; failed to prevent Paul Rozon from operating the tractor
 

 

Case B05 OM OS SB TP EMKe Document ht FifelPi2h7512008 PRage! S161!

trailer of which Schneider was the carrier until he had sufficient ability to operate the
motor vehicle safely; failed to adequately ascertain that Paul Rozon lacked the ability
necessary to safely operate the tractor trailer of which Schneider was the carrier under
the circumstances; failed to provide Paul Rozon with the equipment necessary to safely
operate a tractor trailer; failed to operate, maintain, inspect and repair its vehicle in
accord with the applicable Federal Motor Carrier Safety Regulations rules and
regulations, and Vermont statutes and regulations; operated its vehicle in violation of
the rules and regulations of the Federal Motor Carrier Safety Regulations; operated its
vehicle in violation of the rules and regulations of the Federal Motor Carrier Act; failed to
provide Paul Rozon with proper training necessary to drive a tractor-trailer; failed to
conduct a background check of the driving record of Paut Rozon, failed to properly
supervise Defendant Paul Rozon in the operation of its tractor-trailer and failed to
operate, inspect, maintain and repair its vehicle in accord with the applicable Federal
Motor Carriet Safety Regulations rules and regulations and Vermont statutes and
regulations. All of these acts did constitute a reckless indifference to the risk of injury to
Plaintiff Carol Novajosky. As a result, Plaintiff is seeking an award of punitive damages
against Schneider.

WHEREFORE, Plaintiff Carol Novajosky demands judgment against Schneider

 
 

 

Ca Seo OT DAHER + FREI SAS EE PRayd 220124

in an amount in excess of $50,000.00 plus interest and costs.

MUNLEY, MUNLEY & CARTWRIGHT, P.C.

     

  

*

MATTHEW A. CARTWRI
Attorneys for Plaintiffs

Luzerne National Bank Building, 12" Floor
69 Public Square
Wilkes-Barre, PA 18701

Phone: (570) 824-5599
Fax: (570) 824-2411
Email: mattc@munley.com

PA46871
SLT? ended sAa00s Pigs SS'otSa
>

CaGP OS OO GDERI CEO DERTHEN :
ase 3:0D-

Wed Dec 14 11352223 2005

L UNITED STATES DISTRIC; CBURT
SCRANT@N : FA

| Recaipt jo, 33 104417
i Cashier tanya

Cheek, Nuaberp- 121955

DB Code liv No
4667 3

i Sub Beet Iype lender Aecunt
av 130, 06

To

I 13510000 2
: 2086500 é £0, 06
' J3522360 é 5.00
i 43510000 4 é 4.00
, fotat Awount $259. 99
| RAWLE é HENDERSBN 1 SOUTH PENK 5a, ft

HILA., BA 49
| tel CASE FILING FEE NBVAIOSKY UL ony
HELDER

i on

 
 

 

Cae Ee Oe EMO "Dacurnene dit | FidadsAsiabts PRAGESOb#B4

 

VERIFICATION
| hereby depose and state that | am attorney for the Plaintiff in the above-
captioned action, that | am authorized to make this Verification on behalf of Plaintiff,
and that the factual statements in the foregoing Complaint are true and correct to the
best of my knowledge, information and belief. | understand that this statement is made

subject to the penalties of 18 Pa.C.S. Sec. 4904, relating to unsworn falsification to

DD ACL typhi

MATTHEW A. CARTWRIGHT 7

authorities.
